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                                                 U.S. Department of Justice


                                                 United States Attorney
                                                 Eastern District of New York
DMP/JMH                                          271 Cadman Plaza East
F. #2014R01413                                   Brooklyn, New York 11201



                                                 August 16, 2019

By ECF

The Honorable William F. Kuntz, II
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:    United States v. Azizjon Rakhmatov
                     Criminal Docket No. 15-95 (WFK)

Dear Judge Kuntz:

              Consistent with Your Honor’s instructions at the change of plea proceeding
held yesterday for the above-referenced defendant, the government respectfully moves that
the defense motions identified below be dismissed as moot:

              • ECF Doc. 321: Two classified motions (Motion for Discovery and Motion
                for Declassification Pursuant to Section 5 of the Classified Information
                Procedures Act), filed on June 19, 2019;

              • ECF Doc. 322: Motion to Dismiss Count Three of the Indictment, filed on
                June 24, 2019;

              • ECF Doc. 324: Motion to Suppress Statements and iPhone, filed on June
                25, 2019;

              • ECF Doc. 327: Motion to Vacate the Protective Order, filed on June 28,
                2019;

              • ECF Doc. 333: Letter Objecting to the Admission in Evidence of
                Kasimov’s Statements, filed June 29, 2019;

              • ECF Doc. 342: Supplemental Motion to Dismiss Count Three of the
                Indictment, filed July 31, 2019; and
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              • ECF Docs. 344 & 345: Motion to Suppress Pen Register, Trap and Trace,
                Cell Site Information, Telecommunications Records and All Other Data
                and Information from Rakhmatov’s Phones, filed August 1, 2019. 1

The above-referenced motions are waived by the terms of the defendant’s plea agreement.
See Court Exhibit 2, ¶ 5; see also Class v. United States, ___ U.S. ___, 138 S. Ct. 798, 805
(2018) (summarizing caselaw on waiver of claims via plea, including but not limited to trial
rights, challenges to the admissibility of evidence, and any claim that contradicts admissions
made to enter the plea, among other bases).

              The defendant, by counsel, has indicated to the government that he is
reviewing the issue and intends to file his response to this motion, if any, by Wednesday,
August 21, 2019.

              For the foregoing reasons, the government respectfully requests that the Court
dismiss the above-referenced defense motions as moot.

                                                   Respectfully submitted,

                                                   RICHARD P. DONOGHUE
                                                   United States Attorney

                                           By:      /s/ J. Matthew Haggans
                                                   J. Matthew Haggans
                                                   Assistant U.S. Attorney
                                                   (718) 254-6127


cc:    Clerk of Court (WFK) (By ECF)
       Lawrence Stern, Esq. (By ECF)




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               The government notes that defendant Rakhmatov also filed two additional
motions in which defendant Dilkhayot Kasimov joined. These two motions are:
(a) Rakhmatov’s Motion to Dismiss Counts One and Two of the Indictment, filed on June
27, 2019 (ECF Doc. No. 326); and (b) Rakhmatov’s classified Motion for Discovery and
Suppression of Electronic Surveillance and Physical Searches Conducted Pursuant to the
Foreign Intelligence Surveillance Act and All Evidence and Information Derived Therefrom,
filed with the Court Information Security Officer on July 9, 2019. Those motions remain
pending as to Kasimov. The government filed its oppositions to those motions on Friday,
August 16, 2019. See ECF Doc. Nos. 361 and 362.


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